              23-22723-cgm               Doc         Filed 02/01/24       Entered 02/01/24 14:06:04                 Main Document
 Fill in this information to identify the case:                         Pg 1 of 6
 Debtor 1    Laudye Abraham

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of NEW YORK

 Case number 23-22723-cgm


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: U.S. BANK TRUST NATIONAL                                    Court claim no. (if known): 6-1
ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS OWNER TRUSTEE FOR RCF 2 ACQUISITION
TRUST.

Last 4 digits of any number you use to
identify the debtor’s account: 1969

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?
■ No
□ Yes. Date of the last notice:

 Part 1:       Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
 indicate that approval in parentheses after the date the amount was incurred.

            Description                                                                             Date Incurred               Amount

 1          Late Charges                                                                                               (1)         $0.00

 2          Non-sufficient funds (NSF) fees                                                                            (2)         $0.00

 3          Attorneys fees                                                                                             (3)         $0.00

 4          Filing fee and court costs                                                                                 (4)         $0.00

 5          Bankruptcy/Proof of claim fees: Proof of Claim                                            11/28/2023       (5)       $600.00

 6          Appraisal/Broker's Price opinion fees                                                                      (6)         $0.00

 7          Property inspection fees                                                                                   (7)         $0.00

 8          Tax Advances (non-escrow)                                                                                  (8)         $0.00

 9          Insurance advances (non-escrow)                                                                            (9)         $0.00

 10         Property preservation expenses                                                                             (10)        $0.00

 11         Other. Specify: Plan Review                                                              10/06/2023        (11)      $350.00

 12         Other. Specify: Proof of Claim 410A                                                       11/28/2023       (12)      $250.00

 13         Other. Specify: Objection to Confirmation                                                10/18/2023        (13)      $550.00

 14         Other. Specify:                                                                                            (14)        $0.00
 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.

 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                           page 1
             23-22723-cgm                    Doc            Filed 02/01/24     Entered 02/01/24 14:06:04                      Main Document
                                                                             Pg 2 of 6

Debtor 1 Laudye Abraham                                                 Case number (if known) 23-22723-cgm
           Print Name          Middle Name      Last Name




 Part 2:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.

      □ I am the creditor
      ■ I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                         /s/Raquel Felix
                         __________________________________________________                              Date     02/01/2024
                                                                                                                 ____________________
                        Signature




  Print                   Raquel Felix
                        __________________________________________________                               Title   Authorized Agent_____
                        First Name                      Middle Name     Last Name


  Company               Robertson, Anschutz, Schneid, Crane & Partners, PLLC


  Address               900 Merchants Concourse
                        Number               Street


                        Westbury, NY 11590
                        City                                                 State       ZIP Code

  Contact Phone         470-321-7112                                                                     Email raqfelix@raslg.com
                                                                                                               _______________________




Official Form 410S2                                   Notice of Postpetition Mortgage Fees, Expenses, and Charges                             page 2
           23-22723-cgm       Doc      Filed 02/01/24 Entered 02/01/24 14:06:04                   Main Document
                                                     Pg 3 of
                                           CERTIFICATE    OF 6 SERVICE

               I HEREBY CERTIFY that on              February 1, 2024             , I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States
Mail to the following:

LAUDYE ABRAHAM
516 OAK TREE RD
ORANGETOWN, NY 10964

And via electronic mail to:

SCOTT J. GOLDSTEIN
LAW OFFICES OF WENARSKY AND GOLDSTEIN, LLC
410 ROUTE 10 WEST,
STE 214
LEDGEWOOD, NJ 07852

THOMAS C. FROST
CHAPTER 13 STANDING TRUSTEE
399 KNOLLWOOD RD
SUITE 102
WHITE PLAINS, NY 10603

UNITED STATES TRUSTEE
OFFICE OF THE UNITED STATES TRUSTEE - NY
ALEXANDER HAMILTON CUSTOM HOUSE
ONE BOWLING GREEN, ROOM 534
NEW YORK, NY 10004-1408


                                                        By: /s/ Pritam Deshmukh




Official Form 410S2                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                       page 3
              23-22723-cgm
1/30/24, 4:16 PM                                      Doc              Filed 02/01/24            Entered
                                                                                                    Invoicing 02/01/24      14:06:04
                                                                                                              - Invoice Detail                                Main Document
                                                                                               Pg 4 of 6
Vendor                    Robertson, Anschutz, Schneid, Crane & Partners, PLLC         Regarding:                           Invoice Number:
Address:                  6409 Congress Avenue                                         ABRAHAM LAUDYE                       Invoice Status:                           Check Confirmed (Exc)
                          Suite 100                                                    516 OAK TREE ROAD                    Loan No.:
                          Boca Raton, FL 33487                                         ORANGETOWN, NY 10964                 Loan Type:                                Conventional
Payee Code:                                                                                                                 Acquistion Date:
Vendor Contact:           Lauren Kleinmann                                                                                  Asset No.:
Vendor Ref #:                                                                                                               REO Loan Status:                          N/A
Servicer:                 Selene Finance - (271)                                                                            REO Loan Status Date:                     N/A
Inv. ID / Cat. ID                                                                                                           Referral Date :                           10/10/2023
Investor Name:                                                                                                              Loan Location:
Class Code:
                                                                                                                            BK Case No:                               23-22723-cgm
Entity Code:
                                                                                                                            Submitted Date:                           10/19/2023
GSE Code:                 O
                                                                                                                            Vendor Invoice Date:                      10/19/2023
GSE REO Rem.
Code:                                                                                                                       Paid In Full Date:                        N/A

HiType:                   1                                                                                                 Foreclosure Removal Date:                 N/A

Outsource Firm:           LPS Default Solutions                                                                             MS Status:                                N/A

Litigation Status                                                                                                           Relief Requested Date:                    N/A
Code:                                                                                                                       Protection Begin Date:                    N/A
Man Code:                 0                                                                                                 Protection End Date:                      N/A

Original Mortgage Amount: $628,000.00
Principal Balance as of invoice create date: $494,679.53
Principal Balance as of today's date: $489,846.19
                                                                           Bankruptcy - Bankruptcy Services - Chapter 13
                                                                                                   O/S
    Submitted                 1st Reviewed           Last Reviewed               Accepted       Recommend          Approved               Chk Requested         Chk Confirmed            Days To Proc
                                                                                                 Approval
     10/19/2023                10/23/2023                 11/13/2023                             10/23/2023        11/13/2023                 11/13/2023             11/14/2023                26

 Dept     Comments        Line Items    Exceptions     Edit Summary       Adj. Summary    Chronology   Quote   Service Request      Guideline      Invoice Mapping     History    Payments Reconciliation




                                                                   Invoicing Prev.
   Fees             Total:                   $550.00                                           $0.00     Exc. Loan Allow:
                                                                            Billed:
                                                                   Invoicing Prev.
   Costs            Total:                        $0.00                                        $0.00     Exc. Loan Allow:
                                                                            Billed:



                                                                                                         Loan Total
   Totals           Inv Amt:                $550.00                    Prev. Billed:         $0.00       Fees/Costs                 $6,068.46
                                                                                                         Prev.Billed:

  Fees
                                                                                                Aff.
    A       O    C Category                       Subcategory                            W/H            Date       Qty             Price         Sales Tax Orig. Billed             Adjust           Net
                                                                                                Ind.
    A               C   Attorney Fees              Objection to Confirmation                            10/18/23    1            $550.00              $0.00          $550.00          $0.00      $550.00
                        Note: Bankruptcy Plan Objection RECOVERABLE
                        Recoverability Change Reason:
                        Service From Date: 10/18/2023                           Service To Date: 10/18/2023

                                                                                                                                                           $550.00                    $0.00


                                                                                                                                         Invoice Total:        $550.00               $0.00      $550.00




                                                                                                                                                                                                        1/1
              23-22723-cgm
1/30/24, 4:15 PM                                      Doc              Filed 02/01/24            Entered
                                                                                                    Invoicing 02/01/24      14:06:04
                                                                                                              - Invoice Detail                                Main Document
                                                                                               Pg 5 of 6
Vendor                    Robertson, Anschutz, Schneid, Crane & Partners, PLLC         Regarding:                           Invoice Number:
Address:                  6409 Congress Avenue                                         ABRAHAM LAUDYE                       Invoice Status:                           Check Confirmed
                          Suite 100                                                    516 OAK TREE ROAD                    Loan No.:
                          Boca Raton, FL 33487                                         ORANGETOWN, NY 10964                 Loan Type:                                Conventional
Payee Code:                                                                                                                 Acquistion Date:
Vendor Contact:           Lauren Kleinmann                                                                                  Asset No.:
Vendor Ref #:                                                                                                               REO Loan Status:                          N/A
Servicer:                 Selene Finance - (271)                                                                            REO Loan Status Date:                     N/A
Inv. ID / Cat. ID                                                                                                           Referral Date :                           10/4/2023
Investor Name:                                                                                                              Loan Location:
Class Code:
                                                                                                                            BK Case No:                               23-22723
Entity Code:
                                                                                                                            Submitted Date:                           10/11/2023
GSE Code:                 O
                                                                                                                            Vendor Invoice Date:                      10/11/2023
GSE REO Rem.
Code:                                                                                                                       Paid In Full Date:                        N/A

HiType:                   1                                                                                                 Foreclosure Removal Date:                 N/A

Outsource Firm:           LPS Default Solutions                                                                             MS Status:                                N/A

Litigation Status                                                                                                           Relief Requested Date:                    N/A
Code:                                                                                                                       Protection Begin Date:                    N/A
Man Code:                 0                                                                                                 Protection End Date:                      N/A

Original Mortgage Amount: $628,000.00
Principal Balance as of invoice create date: $494,679.53
Principal Balance as of today's date: $489,846.19
                                                                           Bankruptcy - Bankruptcy Services - Chapter 13
                                                                                                   O/S
    Submitted                 1st Reviewed           Last Reviewed               Accepted       Recommend          Approved               Chk Requested         Chk Confirmed            Days To Proc
                                                                                                 Approval
     10/11/2023                10/12/2023                 10/12/2023                             10/12/2023        10/16/2023                 10/16/2023             10/17/2023                 6

 Dept     Comments        Line Items    Exceptions     Edit Summary       Adj. Summary    Chronology   Quote   Service Request      Guideline      Invoice Mapping     History    Payments Reconciliation




                                                                   Invoicing Prev.
   Fees             Total:                   $350.00                                           $0.00     Exc. Loan Allow:
                                                                            Billed:
                                                                   Invoicing Prev.
   Costs            Total:                        $0.00                                        $0.00     Exc. Loan Allow:
                                                                            Billed:



                                                                                                         Loan Total
   Totals           Inv Amt:                $350.00                    Prev. Billed:         $0.00       Fees/Costs                 $5,718.46
                                                                                                         Prev.Billed:

  Fees
                                                                                                Aff.
    A       O    C Category                       Subcategory                            W/H            Date       Qty             Price         Sales Tax Orig. Billed             Adjust             Net
                                                                                                Ind.
    A               C   Attorney Fees              Plan Review Fee                                      10/06/23    1            $350.00              $0.00          $350.00          $0.00         $350.00
                        Note: Bankruptcy Plan Review - BK WIP NEW- Initial Plan Review (Non PA-OH). Please note that no documents are filed with BK court for Plan Review. BK_RECOVERABLE
                        Recoverability Change Reason:
                        Service From Date: 10/06/2023                           Service To Date: 10/06/2023

                                                                                                                                                           $350.00                    $0.00


                                                                                                                                         Invoice Total:        $350.00               $0.00      $350.00




                                                                                                                                                                                                          1/1
              23-22723-cgm
1/30/24, 4:16 PM                                      Doc              Filed 02/01/24            Entered
                                                                                                    Invoicing 02/01/24      14:06:04
                                                                                                              - Invoice Detail                                Main Document
                                                                                               Pg 6 of 6
Vendor                    Robertson, Anschutz, Schneid, Crane & Partners, PLLC         Regarding:                           Invoice Number:
Address:                  6409 Congress Avenue                                         ABRAHAM LAUDYE                       Invoice Status:                           Check Confirmed (Exc)
                          Suite 100                                                    516 OAK TREE ROAD                    Loan No.:
                          Boca Raton, FL 33487                                         ORANGETOWN, NY 10964                 Loan Type:                                Conventional
Payee Code:                                                                                                                 Acquistion Date:
Vendor Contact:           Lauren Kleinmann                                                                                  Asset No.:
Vendor Ref #:                                                                                                               REO Loan Status:                          N/A
Servicer:                 Selene Finance - (271)                                                                            REO Loan Status Date:                     N/A
Inv. ID / Cat. ID                                                                                                           Referral Date :                           10/4/2023
Investor Name:                                                                                                              Loan Location:
Class Code:
                                                                                                                            BK Case No:                               23-22723
Entity Code:
                                                                                                                            Submitted Date:                           12/4/2023
GSE Code:                 O
                                                                                                                            Vendor Invoice Date:                      12/4/2023
GSE REO Rem.
Code:                                                                                                                       Paid In Full Date:                        N/A

HiType:                   1                                                                                                 Foreclosure Removal Date:                 N/A

Outsource Firm:           LPS Default Solutions                                                                             MS Status:                                N/A

Litigation Status                                                                                                           Relief Requested Date:                    N/A
Code:                                                                                                                       Protection Begin Date:                    N/A
Man Code:                 0                                                                                                 Protection End Date:                      N/A

Original Mortgage Amount: $628,000.00
Principal Balance as of invoice create date: $492,623.17
Principal Balance as of today's date: $489,846.19
                                                                           Bankruptcy - Bankruptcy Services - Chapter 13
                                                                                                   O/S
    Submitted                 1st Reviewed           Last Reviewed               Accepted       Recommend          Approved               Chk Requested         Chk Confirmed            Days To Proc
                                                                                                 Approval
     12/04/2023                12/11/2023                 12/29/2023                             12/11/2023       12/29/2023                  12/29/2023             12/30/2023                26

 Dept     Comments        Line Items    Exceptions     Edit Summary       Adj. Summary    Chronology   Quote   Service Request      Guideline      Invoice Mapping     History    Payments Reconciliation




                                                                    Invoicing Prev.
   Fees             Total:                   $850.00                                        $350.00      Exc. Loan Allow:
                                                                             Billed:
                                                                    Invoicing Prev.
   Costs            Total:                        $0.00                                        $0.00     Exc. Loan Allow:
                                                                             Billed:



                                                                                                         Loan Total
   Totals           Inv Amt:                $850.00                    Prev. Billed:        $350.00      Fees/Costs                 $6,653.46
                                                                                                         Prev.Billed:

  Fees
                                                                                                Aff.
    A       O    C Category                       Subcategory                            W/H            Date       Qty             Price         Sales Tax Orig. Billed             Adjust           Net
                                                                                                Ind.
    A               C   Attorney Fees              Proof of Claim                                      11/28/23     1            $600.00              $0.00          $600.00          $0.00      $600.00
                        Note: Bankruptcy Proof of Claim BK_RECOVERABLE
                        Recoverability Change Reason:
                        Service From Date: 11/28/2023                           Service To Date: 11/28/2023
    A               C   Attorney Fees              Proof of Claim                                      11/28/23     1            $250.00              $0.00          $250.00          $0.00      $250.00
                        Note: Bankruptcy Proof of Claim - Part 5 (410A) - Bankruptcy Proof of Claim - Part 5(410A) (BK-4146). Bankruptcy Proof of Claim - Part 5 (410A) Recoverable
                        BK_RECOVERABLE
                        Recoverability Change Reason:
                        Service From Date: 11/28/2023                           Service To Date: 11/28/2023

                                                                                                                                                           $850.00                    $0.00


                                                                                                                                         Invoice Total:        $850.00               $0.00      $850.00




                                                                                                                                                                                                        1/1
